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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  AMBER MCGUIRE,                                               CASE NO.:1:21-cv-20923-JEM

         Plaintiff,

         v.

  GREENSTAR LANDSCAPING, CO., and
  PETER MASI, in his individual capacity.,

        Defendant.
  ____________________________________________/

         CORRECTED NOTICE OF VOLUNTARY DISMISSAL OF COMPLAINT

         Plaintiff, Amber McGuire, by and through her counsel the Derek Smith Law Group, PLLC,

  files this Corrected Notice of Voluntary Dismissal, with prejudice as to Plaintiff’s federal claims

  against Defendant Greenstar Landscaping, Co. and Defendant Peter Masi (collectively

  “Defendants”), in the above captioned matter, pursuant to Rule 41 of the Federal Rules of Civil

  Procedure. All other claims available to Plaintiff are dismissed without prejudice, pursuant to Rule

  41 of the Federal Rules of Civil Procedure. The matter is being dismissed having been advised of

  the Court’s lack of jurisdiction over the Defendants to bring the herein claims.

         Plaintiff further certifies that a copy of the forgoing was provided to counsel for

  Defendants.


  Dated: August 18, 2021
         Miami, Florida

                                                DEREK SMITH LAW GROUP, PLLC


                                                _________________________________
                                                Lauren Tobin, Esq.
                                                Fla. Bar No. 1024850
                                                Derek Smith Law Group, PLLC
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                                 CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  with the CM/ECF E-Filing Portal and was served via e-mail generated by the Southern District
  of Florida on Wednesday, August 18, 2021 to:

  WEISS SEROTA HELFMAN COLE & BIERMAN
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                                                            /s/Lauren Tobin, Esq.
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